        Case 18-70585-JAD                       Doc 74        Filed 10/09/23 Entered 10/09/23 12:32:56                     Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              WAYNE M. BAMBARGER


     Debtor 2              APRIL M. BAMBARGER
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          18-70585JAD




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  US BANK TRUST NA - TRUSTEE ET AL                                                09

 Last 4 digits of any number you use to identify the debtor's account                         0   9   1   5

 Property Address:                             717 SOUTH STREET
                                               CURWENSVILLE PA 16833




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $           0.00

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $           0.00

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $           0.00



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $259.72
         The next postpetition payment is due on                 9 / 1 / 2023
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     WAYNE M. BAMBARGER                                               Case number (if known) 18-70585JAD
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     10/09/2023


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     WAYNE M. BAMBARGER                                        Case number (if known) 18-70585JAD
             Name




                                             Disbursement History

Date         Check #   Name                                  Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3)
11/27/2019             US BANK TRUST NA - TRUSTEE BUNGALOWREALLOCATION
                                                           SERIES F TRUST
                                                                        OF CONTINUING DEBT           1,251.74
02/25/2020   1151333   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               226.07
03/23/2020   1154810   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               230.97
04/27/2020   1158272   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               243.59
05/26/2020   1161601   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               253.51
06/26/2020   1164761   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               250.93
07/29/2020   1167843   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               256.72
08/25/2020   1170917   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               261.21
09/28/2020   1174030   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               264.69
10/26/2020   1177100   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               268.01
11/24/2020   1180154   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               274.65
12/21/2020   1183073   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               276.62
01/25/2021   1186093   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               278.13
02/22/2021   1189214   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               279.30
03/26/2021   1192532   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               280.20
04/26/2021   1195763   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               280.89
05/25/2021   1198884   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               281.43
06/25/2021   1202066   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               281.84
07/26/2021   1205257   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               282.16
08/26/2021   1208414   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               299.02
09/24/2021   1211520   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               299.23
10/25/2021   1214575   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               298.56
11/22/2021   1217603   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               292.29
12/23/2021   1220695   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               291.87
01/26/2022   1223743   US BANK TRUST NA - TRUSTEE BUNGALOWAMOUNTS
                                                           SERIES F DISBURSED
                                                                    TRUST     TO CREDITOR               291.53
02/18/2022   1214575   US BANK TRUST NA - TRUSTEE BUNGALOWCANCELLED
                                                           SERIES F TRUST
                                                                      CHECK TO CREDITOR/CONTINUING DEBT-298.56
02/23/2022   1226603   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 552.77
03/25/2022   1229605   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 299.98
04/26/2022   1232640   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 297.30
05/25/2022   1235679   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 295.21
06/27/2022   1238701   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 293.57
07/26/2022   1241630   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 292.31
08/24/2022   1244493   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 291.34
09/27/2022   1247387   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 290.60
10/25/2022   1250169   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 290.05
11/23/2022   1252978   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 283.66
12/22/2022   1255706   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 283.37
01/26/2023   1258430   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 283.14
02/23/2023   1260995   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 282.99
03/28/2023   1263808   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 282.87
04/25/2023   1266603   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 282.61
05/25/2023   1269485   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 282.43
06/14/2023   1260995   US BANK TRUST NA - TRUSTEE ET AL   CANCELLED CHECK TO CREDITOR/CONTINUING DEBT-282.99
06/14/2023   1269941   US BANK TRUST NA - TRUSTEE ET AL   PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT  282.99
06/26/2023   1272373   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 290.87
07/25/2023   1275106   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 306.70
08/25/2023   1277908   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 306.70
09/26/2023   1280613   US BANK TRUST NA - TRUSTEE ET AL   AMOUNTS DISBURSED TO CREDITOR                 142.62
                                                                                                    13,427.69




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

WAYNE M. BAMBARGER
APRIL M. BAMBARGER
717 SOUTH STREET
CURWENSVILLE, PA 16833

KENNETH P SEITZ ESQ
LAW OFFICES OF KENNY P SEITZ
POB 211
LIGONIER, PA 15658

US BANK TRUST NA - TRUSTEE ET AL
C/O FAY SERVICING LLC(*)
PO BOX 814609
DALLAS, TX 75381-4609

MCCALLA RAYMER ET AL
NATL BANKRUPTCY DEPT**
1544 OLD ALABAMA RD**
ROSWELL, GA 30076-2102




10/9/23                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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